       Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 1 of 41




                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


 DALONTA CRUDUP, et al.,

                     Plaintiffs,

 v.                                               Civil Action No. 20-1135 (TSC)

 DISTRICT OF COLUMBIA, et al.,

                     Defendants.


                MEMORANDUM OF POINTS AND AUTHORITIES IN
                SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
                  PLAINTIFFS’ FIRST AMENDED COMPLAINT

                                   INTRODUCTION

      Members of the Gun Recovery Unit (GRU) of the Metropolitan Police

Department (MPD) work in high crime areas with the goal of removing illegal guns

from the street, to reduce gun violence. Here, plaintiffs admit that they were illegally

carrying firearms in high crime areas but allege that the recoveries of those firearms

by GRU officers were the result of unconstitutional stops and searches. Plaintiffs

further allege that GRU has a policy of engaging in unconstitutional stops and

searches and that its unconstitutional policy is applied disproportionately against

African Americans. Plaintiffs’ claims have no merit and should be dismissed.

      First, plaintiffs fail to allege that they were subject to unconstitutional stops

and searches. In each case, as shown in part by the “Gersteins” incorporated into the

First Amended Complaint, the officers had reasonable suspicion to support the stops

and searches.

                                           1
       Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 2 of 41




      Second, even assuming plaintiffs’ individual claims survive, plaintiffs fail to

allege that the District of Columbia (the District) should be held liable for any

unconstitutional acts under 42 U.S.C. § 1983 (Section 1983). Plaintiffs do not allege

(1) that there was an official policy directing officers to conduct unconstitutional

searches, (2) that a final policymaker adopted the unconstitutional acts as policy, (3)

that there was a custom or practice to conduct unconstitutional searches, or (4) that

the alleged custom or practice of conducting unconstitutional searches stemmed from

a final policymaker’s deliberate indifference towards properly training officers.

      Third, plaintiffs fail to allege a violation of their equal protection rights.

Plaintiffs allege that GRU had a policy of engaging in unconstitutional stops and

searches. But the Amended Complaint contains only conclusory allegations regarding

the racial identity of individuals subjected to unconstitutional stops and searches by

GRU. Plaintiffs cite statistics concerning citywide stops by MPD when GRU is

composed of only 20 to 30 officers who work in high crime areas, making any

comparison inapplicable.

      Finally, even if plaintiffs have alleged a claim against the individual officers,

the officers are entitled to qualified immunity. The issue here is whether, considering

the circumstances the officers faced, the officers were reasonably mistaken that they

had reasonable suspicion for the stop. If plaintiffs’ conduct did not give rise to

reasonable suspicion then, at the very least, these were close calls that demonstrate

why qualified immunity exists, and why it should protect the individual defendants

from liability in this case. Plaintiffs’ First Amended Complaint should be dismissed.



                                          2
       Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 3 of 41




                                   BACKGROUND

I.    Plaintiffs’ Arrests for Illegally Possessing Firearms in Public

      Plaintiffs are four African American males. None of them dispute that they

were in possession of a firearm without a license. As explained below, that is where

the similarities end.

      A.     The Arrest of Dalonta Crudup

      On January 12, 2020, GRU Officers Mark Minzak, Brandon Joseph, Christina

Laury and Eddie Choi were on patrol in the 2500 block of 14th Street, Northeast

because of several recent shootings and a homicide in that area. United States v.

Crudup, Statement of Probable Cause by Officer Eddie Choi at 1 (Jan. 13, 2020)

(Crudup Gerstein), Ex. 1. The officers were dressed in casual attire wearing outer

vests that stated “POLICE.” Id.

      At 11:30 p.m., they observed an individual (Dalonta Crudup) walking on the

sidewalk in the same direction that they were driving but ahead of them. Am. Compl.

[14] ¶¶ 136–38. He was walking holding a backpack in front of him near his waist.

Crudup Gerstein at 1. Crudup then turned, saw the police officers in a car driving

towards him, and immediately put his backpack around both shoulders. Id. Based on

Crudup’s reaction, the officers stopped and exited their vehicle. Id.

      Officer Laury approached Crudup and asked if he had any weapons. Am.

Compl. ¶ 149; Crudup Gerstein at 1. Crudup denied having any weapons. Id. Officer

Laury next asked Crudup what was in his bag. Am. Compl. ¶ 154; Crudup Gerstein

at 1. Crudup said his bag contained marijuana. Id. During Crudup’s exchange with



                                           3
       Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 4 of 41




Officer Laury, Officer Choi observed Crudup turning his body to keep his backpack

out of the direct sight of Officer Laury. Crudup Gerstein at 1. Officer Laury asked

Crudup if they could search his backpack, which remained on both shoulders. Am.

Compl. ¶ 155; Crudup Gerstein at 1. Crudup refused. Id. The officers then indicated

to Crudup they were concerned about the heaviness of Crudup’s backpack. Am.

Compl. ¶ 170; Crudup Gerstein at 1. Crudup again denied having a weapon and to

prove to the officers that his backpack did not have a weapon in it, he shook his bag.

Id. When Crudup shook his bag, the officers heard a hard object inside. Am. Compl.

¶ 171; Crudup Gerstein at 1. The officers knew the object was not Crudup’s phone

because his phone had just been in his hands. Crudup Gerstein at 1. Officer Choi then

reached for Crudup’s backpack and as soon as he felt it, he could tell that it contained

a large amount of marijuana. Am. Compl. ¶¶ 172–73; Crudup Gerstein at 1. Officer

Choi proceeded to search the inside of the backpack. Am. Compl. ¶ 175; Crudup

Gerstein at 1.

      Inside the bag, Officer Choi discovered a .380 caliber handgun with six rounds

of ammunition in the magazine, a firearm magazine loaded with eleven rounds, and

more than 4 1/2 ounces of marijuana. Crudup Gerstein at 2. On Crudup’s person, the

officers found 1 1/2 ounces of marijuana, a scale and $399. Id.

      Crudup was arrested for carrying a pistol without a license, possession with

intent to distribute while armed, unregistered ammunition, and possession of a large

capacity ammunition feeding device. Crudup Gerstein at 2. On March 3, 2020, the

U.S. Attorney dismissed the case against Crudup. Am. Compl. ¶ 177.



                                           4
         Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 5 of 41




         B.    The Arrest of Dontrey Bell

         On April 29, 2019, GRU Officers Michael Ashley, Justin Rogers, Eddie Choi

and Mark Minzak were on patrol in MPD’s Seventh District near the 1500 block of

Butler Street, Southeast. United States v. Bell, Statement of Probable Cause by

Officer Mark Minzak at 1 (Apr. 29, 2019) (Bell Gerstein), Ex. 2. The officers were

dressed in casual attire wearing outer vests that stated “POLICE.” Id.

         At 10:00 p.m., they observed a group of individuals in front of an apartment

building. Am. Compl. ¶ 190; Bell Gerstein at 1. The officers stopped and exited their

vehicle so that they could talk with the group. Am. Compl. ¶ 192; Bell Gerstein at 1.

As the officers were getting out of the car, one member of the group (Dontrey Bell)

ran unprovoked into the apartment building and up the stairs. Am. Compl. ¶¶ 192–

93; Bell Gerstein at 1. The officers pursued him. Id. When the officers reached the top

of the stairs, Bell was breathing heavily with a “blank stare” on his face. Bell Gerstein

at 1. Based on Bell’s nervousness and actions, the officers patted him down for

weapons. Id. They found a revolver in Bell’s pants pocket, and he was arrested for

carrying a pistol without a license. Id. On October 3, 2019, the court granted the U.S.

Attorney’s motion to dismiss the case against Bell without prejudice. Am. Compl.

¶ 208.

         C.    The Arrest of David Burns

         On February 2, 2018, GRU Officers Sherman Anderson, Alton Henderson and

Brandon Joseph were on patrol in MPD’s Seventh District near 2660 Douglas Place,

Southeast. United States v. Burns, Statement of Probable Cause by Officer Sherman



                                            5
      Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 6 of 41




Anderson at 1 (Feb. 13, 2018) (Burns Gerstein), Ex. 3. The officers were wearing vests

that stated “POLICE.” Id.

      At around 10:30 p.m., they observed a man (David Burns) and a woman sitting

inside of a parked car. Am. Compl. ¶¶ 210–11; Burns Gerstein at 1. Burns was in the

front passenger seat. Am. Compl. ¶ 213. The officers stopped their car and began to

back up so that they could speak with Burns and the woman. Burns Gerstein at 1. As

they were backing up, Burns was looking down and his hands were at his waistband.

Id. Officer Joseph approached Burns and asked if he had any guns in the car. Am.

Compl. ¶ 214; Burns Gerstein at 1. Burns said no, and Officer Joseph asked if the

officers could take 30 seconds to check. Id. Both Burns and the woman began to act

nervously when Officer Joseph asked whether he could check if there were any guns

in the car. Burns Gerstein at 1. Officer Wright then approached and asked if Burns

would mind stepping out of the car so that they could talk. Id. Officer Joseph again

asked Burns if he had a gun, and this time Burns did not answer and looked at Officer

Joseph with a puzzled face. Id. The officers then escorted Burns out of the car and

patted him down for weapons. Id. They found a handgun with 12 rounds of

ammunition in the magazine in Burns’s right pants leg. Id.

      Burns was arrested for carrying a pistol without a license and was indicted.

Burns Gerstein at 2; Am. Compl. ¶¶ 221–23. On April 8, 2018, the court granted the

U.S. Attorney’s motion to dismiss the indictment. Am. Compl. ¶ 223.




                                          6
         Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 7 of 41




         D.     The Arrest of Joevantae Ramsey

         On June 4, 2019, GRU officers John Wright, Nelson Torres and Iatezaz Tariq

were on patrol and were pursuing individuals in an SUV who were believed to have

firearms. Am. Compl. ¶¶ 256–58. The officers lost sight of the SUV, but then observed

Joevantae Ramsey outside of his house. Id. ¶¶ 230–34. The officers thought that

Ramsey was one of the individuals they were pursuing. Id. ¶ 259. After seeing the

officers, Ramsey turned and went towards the house. Id. ¶¶ 234–36. The officers

pursued Ramsey into his house where they discovered a firearm. Id. ¶ 245. He was

arrested. Id.

         On September 25, 2019, Ramsey was indicted on three counts. Am. Compl.

¶ 252. On October 2, 2019, the U.S. Attorney moved to dismiss the indictment. Id.

¶ 254.

II.      Plaintiffs’ Lawsuit

         On April 30, 2020, plaintiffs Crudup, Bell and Burns filed an initial Complaint

against the District of Columbia. Compl. [1]. On September 30, 2020, plaintiffs filed

their First Amended Complaint, adding plaintiff Joevantae Ramsey and claims

against Officers Sherman Anderson, Eddie Choi, Brandon Joseph, Christina Laury,

Mark Minzak, Justin Rogers, Iatezaz Tariq, Nelson Torres and John Wright. See

generally Am. Compl.

         In Count 1 of the Amended Complaint, plaintiffs allege that GRU employs an

official policy of stopping and searching individuals without reasonable suspicion in

violation of their rights under the Fourth Amendment. Id. ¶¶ 290–96. Plaintiffs rely



                                            7
       Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 8 of 41




on eight specific allegations to support their claim that such a policy exists: (1) the

U.S. Attorney’s decision to prosecute gun crimes from certain city wards in federal

court, id. ¶¶ 29–30; (2) comments made by D.C. Circuit Judge Janice Rogers Brown

in a 2015 concurring opinion, id. ¶¶ 32, 55–56, 71; (3) undated pictures of unidentified

GRU officers wearing certain clothing and displaying a flag, id. ¶¶ 36–50, 64–69; (4)

a 2013 D.C. Court of Appeals opinion discussing the conduct of one non-party GRU

officer in 2011, id. ¶¶ 57, 76, 78; (5) the statements of non-party MPD Sergeant

Charlotte Djossou, id. ¶¶ 82–86; (6) a claim that GRU officers planted an undercover

officer with a firearm in a group of men standing outside of a barber shop in

Deanwood in 2018, so that they could “find” the firearm and use it as a basis to search

everyone in the group, id. ¶¶ 88–94; (7) data concerning stops made by MPD officers

citywide, id. ¶¶ 95–128; and (8) the allegedly unconstitutional stops and searches of

the plaintiffs.

       In Count 2, plaintiffs allege that the unconstitutional policy of GRU identified

in Count 1 also violates their equal protection rights, as applied through the Due

Process Clause of the Fifth Amendment. Id. ¶¶ 297–303. Plaintiffs imply that

citywide statistics on stops and searches, see id. ¶¶ 95–128, show that the 20 to 30

officers of the GRU are those who stop and search African Americans at a higher rate

than others in the communities they patrol. See id. ¶¶ 297–303.

       In Counts 3 through 6, plaintiffs assert claims under Section 1983 against the

respective GRU officers who arrested them, alleging that the stops and searches

violated their Fourth Amendment rights. Am. Compl. ¶¶ 311–31. Although the



                                           8
       Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 9 of 41




individual facts and circumstances differ, each plaintiff alleges that GRU officers did

not accurately represent what occurred to manufacture reasonable suspicion for the

stops and searches. Id. ¶ 179 (Crudup); id. ¶ 197 (Bell); id. ¶ 224 (Burns); id. ¶ 249

(Ramsey).

                                 LEGAL STANDARD

      In considering a motion to dismiss, a court “must treat the complaint’s factual

allegations as true and must grant [the] plaintiff the benefit of all inferences that can

be derived from the facts alleged.” Sparrow v. United Air Lines, Inc., 216 F.3d 1111,

1113 (D.C. Cir. 2000) (internal quotations omitted). “It need not accept as true,

however, ‘a legal conclusion couched as a factual allegation’ or an inference

unsupported by the facts set forth in the Complaint. Mills v. Hayden, 284 F.Supp.3d

14 (D.D.C. 2018) (quoting Trudeau v. FTC, 456 F.3d 178, 193 (D.C. Cir. 2006)).

      Generally, a court “may consider only the facts alleged in the complaint, any

documents either attached to or incorporated in the complaint and matters of which

[the court] may take judicial notice.” Equal Employment Opportunity Comm’n v. St.

Francis Xavier Parochial School, 117 F.3d 621, 624 (D.C. Cir. 1997). But “there are

some narrow exceptions in which a court may, if it chooses, consider extrinsic

documents, such as documents the authenticity of which are not disputed by the

parties; … official public records; … documents central to the plaintiff’s claim; [and]

… documents sufficiently referred to in the complaint without turning the 12(b)(6)

motion into a motion for summary judgment.” Newman v. Lehman Bros. Holdings

Inc., 901 F.3d 19, 25 (1st Cir. 2018) (internal quotations omitted); see, e.g., Shetty v.


                                           9
      Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 10 of 41




JP Morgan Chase Bank NA, 703 F. App’x 599, 599 (9th Cir. 2017) (finding that

district court did not abuse its discretion in considering public records and

bankruptcy court documents when deciding motion to dismiss without converting it

to a motion for summary judgment).

                                     ARGUMENT

I.    Plaintiffs Fail To Allege That Their Fourth Amendment Rights Were Violated
      Because the Officers Had Reasonable Suspicion To Stop and Search Them
      (Counts 3-6).

      Plaintiffs allege they were stopped and frisked in violation of their Fourth

Amendment rights and bring Section 1983 claims against the District and various

individually named defendants from the MPD’s GRU unit. See Am. Compl. ¶¶ 304–

31. Because plaintiffs do not sufficiently allege a violation of their Fourth Amendment

rights, these claims should be dismissed.1

      The Fourth Amendment protects “[t]he right of the people to be secure in their

persons, houses, papers, and effects, against unreasonable searches and seizures.”

U.S. Const. amend IV. However, consistent with the Fourth Amendment, a police

officer may briefly stop someone to investigate if he has “a reasonable suspicion,

grounded in specific and articulable facts” that criminal activity may be afoot. United



1      In the Amended Complaint, plaintiffs arrange their claims so that the claims
against the District come before their claims against the individual defendants. But
if plaintiffs have failed to allege that their constitutional rights were violated, then
they have necessarily failed to allege that a municipal policy caused the (non-existent)
violations of their rights. Thus, defendants first explain why plaintiffs have failed to
allege a violation of their individual rights before explaining why, even assuming
plaintiffs’ rights have been violated, they have not alleged that the District is liable
for any unconstitutional acts.

                                          10
      Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 11 of 41




States v. Abdus-Price, 518 F.3d 926, 929 (D.C. Cir. 2008). The reasonable suspicion

standard is “not a particularly high bar” and “requires only a minimal level of

objective justification.” Id. When assessing whether the standard has been met,

courts should consider the “totality of the circumstances” and not engage in a “divide-

and-conquer analysis” that examines whether each fact is “susceptible to an innocent

explanation.” United States v. Arvizu, 534 U.S. 266, 274 (2002). Accordingly, “[a]

determination that reasonable suspicion exists ... need not rule out the possibility of

innocent conduct.” Id. at 277.

      Further, courts have consistently held that, while not independently sufficient

to support a finding of reasonable suspicion, an individual’s presence in a high crime

area and an individual’s flight from police are important factors to consider. As the

U.S. Supreme Court explained:

             An individual’s presence in an area of expected criminal activity,
             standing alone, is not enough to support a reasonable,
             particularized suspicion that the person is committing a crime.
             But officers are not required to ignore the relevant characteristics
             of a location in determining whether the circumstances are
             sufficiently suspicious to warrant further investigation.
             Accordingly, we have previously noted the fact that the stop
             occurred in a “high crime area” among the relevant contextual
             considerations in a Terry analysis. In this case, moreover, it was
             not merely respondent’s presence in a high crime area that
             aroused the officers’ suspicion, but his unprovoked flight upon
             noticing the police. Our cases have also recognized that nervous,
             evasive behavior is a pertinent factor in determining reasonable
             suspicion. Headlong flight—wherever it occurs—is the
             consummate act of evasion: It is not necessarily indicative of
             wrongdoing, but it is certainly suggestive of such. In reviewing
             the propriety of an officer’s conduct, courts do not have available
             empirical studies dealing with inferences drawn from suspicious
             behavior, and we cannot reasonably demand scientific certainty
             from judges or law enforcement officers where none exists. Thus,

                                          11
      Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 12 of 41




              the determination of reasonable suspicion must be based on
              commonsense judgments and inferences about human behavior.

Illinois v. Wardlow, 528 U.S. 119, 124–25 (2000) (internal citations omitted); see also

United States v. Bridges, 382 F. Supp. 3d 62, 67–68 (D.D.C. 2019) (finding “that the

combination of circumstances in this case—the defendant’s presence in a high crime

area … and his flight from police as they got out of the car—were sufficient to give

rise to the reasonable suspicion needed to justify a Terry stop under Wardlow”);

United States v. Tuten, 293 F. Supp. 2d 30, 32 (D.D.C. 2003) (finding that officers

had “ample” reason to stop defendants where he “was located in a high-crime area,

made furtive gestures by turning away, and fled aggressively in response to the police

presence”).

      Here, plaintiffs’ Fourth Amendment claims should be dismissed because no

named plaintiff suffered a constitutional violation. Plaintiffs’ respective claims are

addressed below.

      A.      MPD Had Reasonable Suspicion To Stop and Search Plaintiff Crudup.

      Plaintiff Crudup alleges that GRU officers stopped and searched him without

reasonable suspicion. He is wrong. When examined in totality, Crudup’s actions gave

the officers sufficient suspicion to stop and search him.

      Crudup was in a high crime area. Am. Comp. ¶ 132. In response to seeing police

officers, he immediately switched the location of his backpack from the front of his

body to over both of his shoulders. Am. Compl. ¶ 182; Crudup Gerstein at 1. Based

upon his actions, the officers decided to conduct a brief investigation. Notably, “a

seizure does not occur simply because a police officer approaches an individual and

                                          12
          Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 13 of 41




asks a few questions. So long as a reasonable person would feel free ‘to disregard the

police and go about his business,’ … the encounter is consensual and no reasonable

suspicion is required.” Florida v. Bostick, 501 U.S. 429, 437 (1991) (quoting California

v. Hodarie, 499 U.S. 621, 628 (1991)).

          Officer Laury approached Crudup and asked if he had any weapons. Am.

Compl. ¶ 149. Officer Laury did not order Crudup to lift his waistband; Crudup

voluntarily lifted his waistband to show Officer Laury that he did not have a weapon

in that location. See id. Officer Laury then asked Crudup what was in his backpack.

Id. ¶ 154. Crudup told her that he had marijuana in his backpack. Id. Importantly,

marijuana was the only item Crudup said was in the backpack. While possession of

less than 2 ounces of marijuana in the District is not a crime, Crudup gave no

indication that he possessed marijuana only for personal use, and given that he was

storing marijuana in a backpack, it would have been reasonable to infer that he may

have been in possession of more than 2 ounces. It is well-established that an officer’s

suspicion that an individual is involved in the sale of drugs can support a protective

frisk.2



2       See United States v. Garcia, 459 F.3d 1059, 1064 (10th Cir. 2006) (“an
individual’s involvement with drug transactions or distribution can support
reasonable suspicion to frisk that individual for weapons”); United States v. Bustos–
Torres, 396 F.3d 935, 943 (8th Cir. 2005) (“[b]ecause weapons and violence are
frequently associated with drug transactions, it is reasonable for an officer to believe
a person may be armed and dangerous when the person is suspected of being involved
in a drug transaction”); United States v. Jacob, 377 F.3d 573, 579 (6th Cir. 2004)
(“officers who stop a person who is reasonably suspected of carrying drugs are entitled
to rely on their experience and training in concluding that weapons are frequently
used in drug transactions, and to take reasonable measures to protect themselves”)
(internal quotation marks omitted).
                                          13
      Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 14 of 41




      Although the officers likely would have been justified in patting Crudup down

as soon as he admitted to having marijuana in his backpack, they did not search him

until they gathered more information. After Crudup admitted to having marijuana

in his backpack, the officers commented on the apparent weight of Crudup’s bag,

which at that time remained on Crudup’s shoulders. Am. Compl. ¶ 170. Unsolicited,

Crudup took his backpack off his shoulders and shook it for the officers in an apparent

attempt to demonstrate that the bag was not actually heavy. Id. However, despite his

earlier claim that he had only marijuana in his backpack, when Crudup shook his

bag, it was clear to the officers that a heavy object was in the bag. Id. ¶ 171. The

officers had just observed Crudup place his cellphone in his jacket pocket, and

therefore knew that the object in his bag was not his phone. Crudup Gerstein at 1.

      Based on Crudup’s presence in a high crime area, his admission to having

drugs in his backpack, and his false statement that he had only marijuana in his bag,

the officers were justified in conducting a pat-down search for their protection as well

as patting down Crudup’s backpack. United States v. Wills, 316 F. Supp. 3d 437, 445

(D.D.C. 2018); see also United States v. Leo, 792 F.3d 742, 749 (7th Cir. 2015) (“Leo

concedes that, under Terry, the officers lawfully could have patted down the backpack

to search for weapons.”). When Officer Choi conducted a pat down of the exterior of

Crudup’s backpack, he immediately felt an amount of marijuana that was more than

2 ounces; in fact, Crudup had more than 4 ounces in his bag. Crudup Gerstein at 1–

2. At that point, Officer Choi was fully justified in conducting a search of the interior

of Crudup’s bag. Minnesota v. Dickerson, 508 U.S. 366, 375 (1993) (when a police



                                           14
      Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 15 of 41




officer who is conducting a lawful pat-down search for weapons feels something that

is plainly contraband, the object may be seized even though it is not a weapon).

      Crudup cannot deny that the discovery of an unlicensed pistol in his backpack,

among other things, falls squarely under D.C. Code § 22-4504, which prohibits

carrying a concealed weapon without a license. Here, Crudup’s claim should be

dismissed because the officers had sufficient legal cause to stop, search and arrest

him. As a result, Crudup has failed to allege a violation of his Fourth Amendment

rights and Count 3 should be dismissed.

      B.     MPD Had Reasonable Suspicion To Stop and Search Plaintiff Bell.

      Plaintiff Bell alleges that GRU officers stopped and searched him without

reasonable suspicion. He, too, is wrong. When examined in totality, Bell’s actions gave

the officers sufficient suspicion to stop and pat him down for weapons.

      The officers’ interaction with Bell began when Bell was standing outside of an

apartment building. Am. Compl. ¶¶ 191–92. After seeing the officers, Bell fled

unprovoked into the building and up the stairs. Id. ¶ 192. Bell does not allege that he

lived in the apartment building or had any reason to be there other than to avoid an

interaction with the police. Id. Importantly, the officers did not simply rely on Bell’s

running away to justify their pat-down search. Once the officers caught up to Bell at

the top of the stairs, they did not immediately stop and search him. Id. ¶ 193. First,

they asked him if he had any weapons. Id. Bell dropped his hands to his sides and did

not answer. Id. According to Officer Minzak, Bell at that time was “taking deep

breaths with a blank stare on his face.” Bell Gerstein at 1. Based on Bell’s unprovoked


                                          15
      Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 16 of 41




flight, his lack of responsiveness and his blank stare, the officers had a reasonable

basis to be concerned for their safety, and their search was justified. See Wardlow,

528 U.S. at 125 (“[f]light, by its very nature, is not going about one’s business; in fact,

it is just the opposite”). As a result, Bell has failed to allege a violation of his Fourth

Amendment rights and Count 4 should be dismissed.3

       C.     MPD Had Reasonable Suspicion To Stop and Search Plaintiff Burns.

       Plaintiff Burns alleges that GRU officers stopped and searched him without

reasonable suspicion. He, too, is wrong. When examined in totality, Burns’s actions

gave the officers sufficient suspicion to stop and search him for weapons.

       When the officers first encountered Burns, he was in a vehicle. See United

States v. Bullock, 510 F.3d 342, 344–45 (D.C. Cir. 2007) (highlighting the “inordinate

risk confronting an officer as he approaches a person seated in an automobile”)

(quoting Pennsylvania v. Mimms, 434 U.S. 106, 110–11 (1977)). Burns was looking

down and his hands were at his waistband. Burns Gerstein at 1. The officers did not

search Burns based on that conduct alone. Id. After observing Burns’s hand

movements, the officers asked if he had any weapons, and while Burns said no, when

the officers asked if he would mind if they checked the car to be sure, Burns became

visibly nervous. Id.; see Wardlow, 528 U.S. at 125 (“[n]ervous, evasive behavior is

another pertinent factor in determining reasonable suspicion”).


3      Although Bell contends that Officer Minzak’s statements are “fabrications,”
see Am. Compl. ¶ 197, his allegation is conclusory. Bell alleges no facts that would
allow the Court to infer that Officer Minzak intentionally fabricated the facts in the
Statement of Probable Cause. See Bell Gerstein at 1.



                                            16
      Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 17 of 41




      Burns’s nervousness at the suggestion that the officers might test his assertion

that he did not have a weapon is significant. In response to Burns’s reaction, the

officers asked again whether Burns had a gun. Burns Gerstein at 1. In response to

being asked again, Burns no longer gave an immediate “no” but instead paused and

gave the officers a puzzled look. Id. Burns’s increasing nervousness, his presence in

a vehicle, his hesitation when asked again if he had a gun, and his puzzled look in

response to being asked whether he had a gun gave the officers sufficient concern for

their safety to pat Burns down for weapons. See Wardlow, 528 U.S. at 124–25.

Because the officers had reasonable suspicion for the search, Burns has failed to

allege a violation of his Fourth Amendment rights and Count 5 should be dismissed.4

      D.     MPD Had Reasonable Suspicion To Stop and Search Plaintiff Ramsey.

      Ramsey alleges that GRU officers stopped and searched him without

reasonable suspicion. He is wrong. When examined in totality, Ramsey’s actions gave

the officers sufficient suspicion to stop and search him.

      Officers were looking for a vehicle with individuals believed to be in possession

of firearms. Am. Compl. ¶¶ 256–57. Officer Tariq was able to locate the vehicle but

subsequently lost sight of it. Id. ¶ 258. Before losing sight of the vehicle, Officer Tariq

was able to determine that Ramsey was one of the vehicle’s occupants. Id. ¶ 259.

Officer Tariq knew Ramsey from previous encounters. Id. ¶ 267. When Officer Tariq



4      Although Burns contends that Officer Anderson’s statements are
“fabrications,” see Am. Compl. ¶ 224, his allegation is conclusory. Burns alleges no
facts that would allow the Court to infer that Officer Anderson intentionally
fabricated the facts in the Statement of Probable Cause. See Burns Gerstein at 1.


                                            17
      Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 18 of 41




approached Ramsey’s house and called out to him, asking “what’s was going on?”,

Ramsey denied anything was going on, and retreated into his home. Id. ¶¶ 233–36.

Based on these circumstances, including that Ramsey was a suspect in an ongoing

investigation, the officers could reasonably believe that if they did not pursue Ramsey

into the home and search him, Ramsey could destroy evidence. United States v.

Johnson, 802 F. 2d 1459, 1462 (D.C. Cir. 1986) (the need to preserve evidence that

may be lost or destroyed if a search is delayed has long been recognized as an exigent

circumstance permitting the warrantless entry of premises). Because the officers had

sufficient legal cause for the search, Ramsey has failed to allege a violation of his

Fourth Amendment rights and Count 6 should be dismissed.5

II.   Plaintiffs Fail To Allege That the Purported Fourth Amendment Violations
      Were Caused by a Municipal Policy, Custom or Practice (Count 1).

      Local governments, including the District, are “persons” for purposes of Section

1983, but municipal liability cannot be predicated on a respondeat superior theory.

Monell v. Dep’t of Soc. Servs. of New York, 436 U.S. 658, 690–91 (1978). Rather,

“[p]laintiffs who seek to impose liability on local governments under § 1983 must

prove that ‘action pursuant to official municipal policy’ caused their injury.” Connick

v. Thompson, 563 U.S. 51, 60 (2011) (quoting Monell, 436 U.S. at 691).

      The D.C. Circuit has identified four ways official municipal policy can be

demonstrated:    (1) express municipal policy; (2) actions of a final municipal




5     Although Ramsey contends that Officer Tariq’s statements are “fabrications,”
see Am. Compl. ¶¶ 260, 268, his allegation is conclusory. Ramsey alleges no facts that
would allow the Court to infer that Officer Tariq intentionally fabricated testimony.
                                          18
       Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 19 of 41




“policymaker”; (3) persistent conduct by non-policymakers (i.e., “custom” with force

of law); and (4) “deliberate indifference” to a risk of constitutional injury. See Baker

v. District of Columbia, 326 F.3d 1302, 1306–07 (D.C. Cir. 2003) (citations omitted).

Each theory has its own “elements,” which a Section 1983 plaintiff bears the burden

of pleading in accordance with Ashcroft v. Iqbal, 556 U.S. 662 (2009). Blue v. District

of Columbia, 811 F.3d 14, 20 (D.C. Cir. 2015). Additionally, under any theory, a

municipal liability claim separately requires proof of causation—specifically, an

“affirmative link” between the alleged municipal policy and the alleged constitutional

violation, “such that [the former] was the moving force behind the [latter].” Baker,

326 F.3d at 1306. The plaintiffs here fail to allege any viable theory of municipal

liability.

       A.     Plaintiffs Fail To Identify an Official Policy.

       Although plaintiffs generically allege that their stops were caused by a “policy,”

they make no attempt to identify any express policy concerning unconstitutional

stops and searches. Am. Compl. ¶¶ 271–79, 290–96. For example, in Monell, the City

of New York had an express policy requiring pregnant women to take unpaid leaves

of absence before such leaves were required for medical reasons. 436 U.S. at 661.

Plaintiffs here do not identify an express policy; therefore, they cannot rely on the

express policy theory of liability.

       B.     Plaintiffs Fail To Identify Any Actions by an Official Policymaker.

       Municipal liability may exist when a final policymaker either sets the

unconstitutional policy or adopts the actions of his subordinates as official policy. See



                                           19
         Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 20 of 41




Sheller-Paire v. Gray, 888 F. Supp. 2d 34, 40–41 (D.D.C. 2012) (granting motion to

dismiss because “the plaintiff has not alleged that a final policymaker acted or

adopted the actions of subordinates”). “[A] final decision maker typically must be at

least an agency head or the governing body of an agency.” Coleman v. District of

Columbia, 828 F. Supp. 2d 87, 91 (D.D.C. 2011) (internal citations omitted). “If an

official’s discretionary decisions are constrained by policies not of that official’s

making, then those policies—rather [than] the official’s departure from them—are

the act of the municipality.” Byrd v. District of Columbia, 807 F. Supp. 2d 37, 75

(D.D.C. 2011) (emphasis and internal citations omitted).

         “[W]hen determining whether a municipal employee—even the head of an

agency—has final policymaking authority, courts in this District look for ‘specific

provisions in the D.C. Code’ that ‘grant[ ] the director authority to promulgate rules

for the administration of his respective department with regard to the [specific]

conduct at issue.’” Ryan v. District of Columbia, 306 F. Supp. 3d 334, 342–43 (D.D.C.

2018).

         Plaintiffs allege that “Chief Peter Newsham is the policymaker for the District

of Columbia’s [MPD].” Am. Compl. ¶ 5. But plaintiffs fail to identify any provisions

in the D.C. Code that identify Chief Newsham as the official responsible for setting

policies concerning stops and searches by GRU. See Triplett v. District of Columbia,

108 F.3d 1450, 1451 (D.C. Cir. 1997) (holding that Director of the District’s

Department of Corrections was not final decision maker); Coleman, 828 F. Supp. 2d

at 91–92 (holding that Fire Chief of the Fire and Emergency Medical Services



                                           20
      Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 21 of 41




Department was not final policymaker). For that reason alone, any attempt to

establish liability under the final policymaker theory should fail.

       However, even assuming Chief Newsham does qualify as a final policymaker,

plaintiffs do not allege any connection between Chief Newsham and the stop and

search policies of GRU. They do not allege that he had any awareness of the policy,

let alone that he adopted the actions of GRU officers who were allegedly performing

unconstitutional stops and searches. Absent such a connection, plaintiffs cannot

pursue liability under the final decisionmaker theory.

       C.     Plaintiffs Fail To Allege That the Purported Violations of Their Rights
              Were Caused by a Custom or Practice.

       Plaintiffs next allege that municipal liability should exist because the allegedly

unconstitutional stops and searches rose to the level of “custom or practice.” See Am.

Compl. ¶¶ 272–73, 291–92.

       “When a plaintiff seeks to establish municipal liability in the absence of an

explicit policy, he must allege ‘concentrated, fully packed, precisely delineated

scenarios as proof that an unconstitutional policy or custom exists.’” Ryan, 306 F.

Supp. 3d at 342–43 (quoting Page v. Mancuso, 999 F. Supp. 2d 269, 284 (D.D.C.

2013)). “To clear this high hurdle, plaintiffs ordinarily couch ‘custom or practice’

liability on allegations of practices so persistent and widespread as to practically have

the force of law.” Id.

       In addition to identifying many specific examples, plaintiffs must allege that

the final policymaker was “faced with actual or constructive knowledge that its

agents will probably violate constitutional rights.” Warren, 353 F.3d at 39; see also

                                           21
      Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 22 of 41




Hurd v. District of Columbia, 427 F. Supp. 3d 21, 34 (D.D.C. 2019) (“[P]laintiffs must

demonstrate that a municipality was aware of constitutional violations taking

place”); Sheller-Paire, 888 F. Supp. 2d at 40–41 (“[P]laintiff does not point to any

indication that a final policymaker had actual knowledge or any basis for concluding

that plaintiff was being discriminated against based on race or disability”). That is

because a “policy of inaction in light of notice that its program will cause

constitutional violations is the functional equivalent of a decision by [a municipality]

itself to violate the Constitution.” Connick, 563 U.S. at 61–62.

      As alleged, plaintiffs’ claims of an unconstitutional custom or practice fall well

short of the mark.

             1.      The U.S. Attorney’s “Felon in Possession” Gun Prosecutions Have
                     Nothing To Do with GRU Policies.

      In 2018, the U.S. Attorney’s Office for the District of Columbia (USAO)

modified its approach to prosecuting cases when a felon is accused of being in

possession of a handgun, and the USAO began prosecuting more cases in federal court

instead of D.C. Superior Court. Declaration of John Crabb ¶ 9, Criminal Action No.

19-93, United States v. Reed (D.D.C. July 3, 2020), Dkt. No. 48-3. The USAO focused

its initiative on high crime areas, which were in Wards 5, 6 and 7. Id.

      As alleged by plaintiffs, D.C. Attorney General Karl Racine and Ward 6

Councilmember Charles Allen expressed concern over whether the initiative was

applied in a discriminatory manner. Am. Compl. ¶ 30. Plaintiffs then make a leap in

logic and allege that “GRU officers, likewise, are deployed in a targeted and

discriminatory manner, in neighborhoods of color.” Id. ¶ 31. But the charging

                                          22
      Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 23 of 41




decisions of a federal law enforcement agency to prosecute cases in federal or local

court plainly have no relevance to whether a small number of MPD officers were

engaging in unconstitutional stops and searches, and certainly could not have put

Chief Newsham on notice that GRU officers were engaging in unconstitutional stops

and searches. The Court should disregard these irrelevant allegations.

             2.     D.C. Circuit Judge Janice Rogers Brown’s Concurring Opinion in
                    2015 Did Not Hold That GRU Was Engaging in Unconstitutional
                    Stops and Searches.

      Plaintiffs rely heavily on the D.C. Circuit’s opinion in United States v. Gross,

784 F.3d 784 (D.C. 2015), see Am. Compl. ¶¶ 32, 55–56, 71, but plaintiffs

mischaracterize the substance of that decision. When read in context, Gross does not

support plaintiffs’ claim that GRU had a custom or practice of performing

unconstitutional stops and searches.

      In Gross, the D.C. Circuit examined whether a GRU officer effected a seizure

of the defendant and concluded that he had not, affirming the district court’s decision

to deny the defendant’s motion to suppress. 784 F.3d at 788. Contrary to plaintiffs’

suggestions, the majority opinion in Gross never addresses GRU policies or

procedures; the opinion only addresses whether Gross was unlawfully seized and

concludes that he was not. Id. at 785–88. In a concurring opinion, Judge Janice Rogers

Brown agreed that affirmance was required under controlling D.C. Circuit precedent

but noted that she “continue[s] to think this is error.” Id. at 789 (Brown, J.,

concurring). Without citation to evidence in the record, Judge Brown offered her

understanding of the methods employed by GRU and the constitutionality of those



                                          23
      Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 24 of 41




methods. Id. at 789–91. Judge Brown’s understanding of GRU policies seems to have

been based solely on Robinson v. United States, 76 A.3d 329 (D.C. 2013). However,

as explained below, Robinson was addressing the conduct of one GRU officer in 2011.

Robinson, 76 A.3d at 332. The conduct of one officer in 2011 hardly evidences a

“widespread and persistent” practice in 2018.

      Given the narrow scope of the D.C. Circuit’s holding in Gross, the lack of

support for Judge Brown’s assertions regarding GRU policies (beyond Robinson) and

the fact that Gross itself predates the arrests of plaintiffs by several years, this

opinion provides no support for plaintiffs’ theory of a custom or practice, nor did it

serve to place Chief Newsham on notice of the customs or practices of GRU in 2018.

             3.     Pictures of GRU Officers Are Not Probative of Any Custom or
                    Practice.

      Plaintiffs’ Amended Complaint includes several cherry-picked, undated

photographs of a small number of unidentified GRU officers. See Am. Compl. ¶¶ 36–

50, 64–69. Plaintiffs seem to suggest that the Court should infer that, if the officers

at one point took a group picture with certain insignia, or wear “tactical” gear, then

they must also have been performing “widespread and persistent” unconstitutional

stops and searches. Id. ¶¶ 34–53. Plaintiffs’ attempt to use character evidence to

explain away the glaring omissions in their municipal liability claims should be

rejected.

      Even assuming plaintiffs are correct that the pictures in the Amended

Complaint reflect, at most, decorum that could be misinterpreted as inconsistent with

best practices, it would be entirely unreasonable to infer any particular conduct from

                                          24
      Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 25 of 41




such pictures, let alone to infer “widespread and persistent” unconstitutional acts

throughout the putative class period. Under plaintiffs’ reasoning, those pictures

would seemingly evidence any and all alleged unconstitutional acts by GRU officers.

Given the complete lack of connection between the pictures and specific examples of

unconstitutional stops and searches, the Court should disregard them when

considering whether plaintiffs have alleged a custom or practice of unconstitutional

stops and searches.

      In addition, plaintiffs fail to allege that Chief Newsham was aware of the

photographs or that GRU officers were displaying certain insignia or flags. Absent

actual or constructive knowledge by Chief Newsham, neither the photographs nor the

insignia can support a finding of custom or practice, even if conduct could be inferred

from those items (which it cannot).

             4.       The D.C. Court of Appeals’ Discussion in 2013 of One GRU
                      Officer’s Actions in 2011 Is Not Probative of Custom or Practice
                      in 2018.

      As with their treatment of Gross, plaintiffs mischaracterize the D.C. Court of

Appeals’ decision in Robinson in an attempt to shoehorn it into their custom or

practice theory. See Am. Compl. ¶¶ 57, 76, 78.

      In Robinson, members of GRU were on patrol during the night of November

30, 2011. 76 A.3d at 332. One GRU officer testified that a common question he posed

to individuals was whether they have a gun. Id. at 333, 338. The officer said he

generally asks everyone that question. Id. The defendant, Robinson, did not answer

the officer’s inquiry. Id. at 332–33. Subsequently, the officer concluded that



                                           25
      Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 26 of 41




Robinson’s lack of answer to his question combined with Robinson’s hand gestures

provided enough suspicion to search him. Id. at 333. The D.C. Court of Appeals held

that, on those facts, the officer lacked reasonable suspicion to conduct a search. Id. at

340–41. But nothing in Robinson suggests that any GRU officer intentionally

conducted a search despite knowing that he or she lacked reasonable suspicion, or

that GRU officers had a policy or custom of performing stops and searches without

reasonable suspicion. The GRU officer in Robinson made a judgment call as to

whether reasonable suspicion existed, and he concluded that it did. The D.C. Court

of Appeals held that he was mistaken. But one officer’s reasonable mistake in 2011

is not evidence of a widespread and pervasive unconstitutional practice in 2018.

              5.    The Statements of Sgt. Charlotte Djossou Contradict Plaintiffs’
                    Allegations and Confirm That MPD Had a Strict Policy Against
                    Tactics Meant To Avoid the Reasonable Suspicion Standard.

      Plaintiffs allege that the statements of MPD Sgt. Charlotte Djossou support

their claims. Am. Compl. ¶¶ 82–86. They do not. Instead, Sgt. Djossou’s statements

demonstrate that MPD supervisors quickly and forcefully denounced in 2015 any

efforts by officers to avoid constitutional requirements. See Complaint, Djossou v.

District of Columbia, No. 2020 CA 004292 B (D.C. Super. Ct. Oct. 9, 2020) (Djossou

Complaint).

      According to Sgt. Djossou, in June 2015, she was informed that officers were

being instructed to search individuals without probable cause, which she reported to

her supervisor, Lt. Mustafa Haamid. Djossou Compl. ¶¶ 17–18. Lt. Haamid told Sgt.




                                           26
      Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 27 of 41




Djossou that such instructions should not be given, and that he would report the issue

to Commander Robin Hoey. Id. ¶¶ 18–19. On the very next day,

             Commander Hoey sent out an email demanding that all the
             officers cease those practices. He emphasized that the
             “jump out style tactics” that focused on minorities were
             contrary to policy and the directives of the Chief of Police.
             Commander Hoey emphasized that the [Narcotics and
             Special Investigations Division (NSID)] “was created to
             counter this type of activity and no one will put this very
             good and productive unit in jeopardy by doing things that
             the [Chief of Police] says [MPD] will never do again.
             Further anybody who has knowledge of this should bring
             to my attention and those folks will be removed from this
             unit. Officials better not be conducting these.”

Djossou Compl. ¶ 20. Commander Hoey is still with NSID.6

      Sgt. Djossou also alleges that in 2018 she heard an officer describe an approach

he “intended” to implement, which Sgt. Djossou was concerned would result in

unconstitutional stops or searches. Id. ¶¶ 29–31. She alerted her supervisors and does

not allege that her supervisors failed to take action or that any unconstitutional stops

or searches actually occurred. Id. ¶¶ 29–34. Sgt. Djossou does not allege that she

informed Chief Newsham or that she was aware of Chief Newsham having knowledge

of such occurrences. Id.

      Over a more than 15-year career with MPD, Sgt. Djossou alleges that she

observed two incidents of conduct that concerned her regarding potential

unconstitutional stops and searches. Id. ¶¶ 17, 29–30. She acknowledges that, in

2015, her supervisor clearly and unambiguously informed NSID officers that the



6     See    Commander      Robin    Hoey,
                                         Metro. Police Dep’t, Wash., D.C.,
https://mpdc.dc.gov/biography/commander-robin-hoey (last visited Nov. 16, 2020).
                                          27
      Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 28 of 41




tactics she was concerned about were not to occur and that anyone found engaging in

such tactics would be removed from the unit. Id. ¶ 20. Sgt. Djossou does not allege

that she was aware of unconstitutional stops or searches actually happening as a

result of these alleged instances in 2015 or 2018.

      At the very least, even assuming that Sgt. Djossou’s allegations could support

a claim that “some” unconstitutional acts may have occurred (they cannot), her

allegations do not support plaintiffs’ claim that the unconstitutional stops and

searches rose to the level of custom or practice, and certainly do not show that Chief

Newsham had knowledge of the custom or practice.

             6.     Plaintiffs’ Allegations Concerning the Deanwood Barbershop
                    Incident Are Wholly Unsubstantiated.

      Plaintiffs also allege that an incident outside of a barbershop in 2018 provides

an example of the allegedly unconstitutional stops and searches performed by GRU.

Am. Compl. ¶¶ 88–94. But the event plaintiffs describe bears no resemblance to the

alleged custom or practice that forms the basis of their lawsuit.

      Plaintiffs allege that GRU officers planted an undercover officer with a gun in

a group of men gathered outside of a barbershop, and then “discovered” the gun on

the undercover officer to manufacture reasonable suspicion to search other

individuals in the group. Id. ¶¶ 89–91. Even though plaintiffs have no proof that this

incident occurred beyond hearsay statements of someone who was apparently not

even there, see id. ¶ 92 (citing letter from Advisory Neighborhood Commissioner

Anthony Lorenzo Green), assuming it did occur as plaintiffs allege, it would not be




                                          28
      Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 29 of 41




evidence of the custom or practice alleged by these plaintiffs.7 Plaintiffs each allege

that they were minding their own business when GRU officers stopped and searched

them without reasonable suspicion. None of them allege that GRU officers relied on

a planted undercover officer to manufacture reasonable suspicion, which is a

fundamentally different practice than that alleged by plaintiffs.

      Even assuming the Deanwood incident occurred as alleged by plaintiffs, it

provides no support for their custom or practice theory in this case because it involves

entirely different alleged conduct.

             7.     Citywide Data on All Stops and Searches Is Not Probative of
                    Whether GRU Is Engaging in Unconstitutional Stops and
                    Searches.

      Plaintiffs also rely upon data collected by MPD concerning citywide stops and

searches. Am. Compl. ¶¶ 95–128. According to plaintiffs, the data shows that African

Americans are stopped citywide at a greater rate than non-African Americans. See,

e.g., id. ¶ 123. Even assuming the data provides insight into who is stopped, it says

nothing about how they were stopped. To support plaintiffs’ custom or practice claim,

the data would have to show that the stops were conducted in the absence of

reasonable suspicion. But nothing alleged in the Amended Complaint would support

an inference as to what percentage of those stops were unconstitutional, and there is




7      Chief Newsham directly and unequivocally rejected the claim that any
undercover officers were “planted” at the barbershop. See Jack Pointer, DC Police
Chief Defends Last Month’s Stop-and-Frisk Incident in Northeast, WTOP (July 12,
2018),      https://wtop.com/dc/2018/07/dc-police-chief-defends-last-months-stop-and-
frisk-incident-in-northeast/.

                                          29
      Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 30 of 41




certainly nothing to justify inferring from the data that unconstitutional stops were

“widespread and pervasive.”

      As alleged by plaintiffs, GRU officers are “mainly deployed in Black or African-

American neighborhoods,” and are “not deployed generally throughout all

neighborhoods of Washington, D.C.” Id. ¶ 17 (emphasis in original). But that

assertion by plaintiffs should preclude them from relying on the proffered data to

show an unconstitutionally discriminatory custom or practice of GRU officers

specifically. To the extent plaintiffs seek to draw support for their custom or practice

claim from a statistical disparity, they would need to allege that the percentage of

African Americans stopped and searched by GRU officers specifically is higher than

the percentage of African Americans who live in the communities patrolled by GRU.

      In sum, outside of their own individual allegations, plaintiffs fail to identify a

single example of GRU officers performing an unconstitutional stop or search, or to

provide any relevant comparator statistics. Even assuming plaintiffs’ individual

claims have merit, four examples of unconstitutional activity are hardly sufficient to

allege a custom or practice sufficient to support municipal liability. See Carter v.

District of Columbia, 795 F.2d 116, 123 (D.C. Cir. 1986) (rejecting 13 alleged incidents

as evidence of a policy and stating that “if the evidence plaintiffs presented here were

adequate to make out a § 1983 case, then practically every large metropolitan police

force, it would seem, could be targeted for such liability”).




                                           30
      Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 31 of 41




      D.     Plaintiffs Fail To Allege That the Purported Violations of Their Rights
             Were Caused by Deliberate Indifference.

      In very rare situations, municipal liability may exist because of a failure of the

final policymaker to properly train employees. However, to allege a failure-to-train

claim, plaintiffs must clear a “high hurdle” because “[a] policy of inadequate training

is far more nebulous” than an explicit municipal policy, and a “municipality’s

culpability for a deprivation of rights is at its most tenuous where a claim turns on a

failure to train.” Connick, 563 U.S. at 61 (citations and internal quotation marks

omitted).

      Plaintiffs must allege facts showing that the District’s purported failure to

train “amount[ed] to ‘deliberate indifference to the rights of persons with whom the

[untrained employees] come into contact.’” Connick, 563 U.S. at 61 (alteration in

original) (citations omitted). “‘[D]eliberate indifference’ is a stringent standard of

fault, requiring proof that a municipal actor disregarded a known or obvious

consequence of his action.” Id. “Ordinarily, to establish deliberate indifference, a

plaintiff must allege a pattern of constitutional violations by inadequately trained

employees that are similar to the instant violation.” Id. at 62. Such a pattern

demonstrates a “continued adherence to an approach that [the municipality] know[s]

or should know has failed to prevent ... [unconstitutional] conduct by employees,” and

thus “may establish the conscious disregard for the consequences of [its] action—the

‘deliberate indifference’—necessary to trigger municipal liability.” Bd. of Cty.

Comm’rs of Bryan Cty. v. Brown, 520 U.S. 397, 407 (1997). Therefore, “[a] pattern of

similar constitutional violations by untrained employees is ‘ordinarily necessary’ to

                                          31
       Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 32 of 41




demonstrate deliberate indifference for purposes of failure to train.” Connick, 563

U.S. at 62.

       Here, plaintiffs’ failure-to-train claim fails for the same reasons that their

custom or practice claim fails. A failure-to-train claim generally requires plaintiffs to

show (1) a pattern of similar constitutional violations, (2) that the final policymaker

was aware of the pattern of similar constitutional violations, and (3) that the final

policymaker failed to properly train employees despite awareness of the

constitutional violations. As explained above, plaintiffs have failed to identify any

examples of allegedly similar constitutional violations, and they have failed to allege

that Chief Newsham was aware of any pattern of violations. Plaintiffs have also failed

to identify any deficiencies in MPD training on searches and seizures. For those

reasons, the Court should reject plaintiffs’ failure-to-train theory of liability.

III.   Plaintiffs Fail To Allege a Fifth Amendment Violation of Their Equal
       Protection Rights and Cannot Establish Municipal Liability Under Section
       1983 (Claim 2).

       Plaintiffs’ equal protection claim also fails on the merits.8 The basis for the

claim is the allegation that the “GRU has and does maintain a policy, practice and/or

custom of illegally stopping and frisking or searching persons … in the absence of

reasonable articulable suspicion of criminal activity … including … persons who have

been stopped, or stopped and frisked, on the basis of race and/or color … .” Am. Compl.

¶ 298. However, plaintiffs have not adequately alleged a discriminatory effect or a




8    To the extent plaintiffs’ equal protection claim relies on a viable theory of
municipal liability, it fails for the same reasons as explained in Section II.

                                            32
      Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 33 of 41




discriminatory intent; both are required to sustain a Section 1983 claim for violations

of plaintiffs’ equal protection rights. See Smith v. Henderson, 54 F. Supp. 3d 58, 68–

69 (D.D.C. 2014).

      A.     Plaintiffs Fail To Allege Discriminatory Effect Because Their Cited
             Statistics Are Irrelevant.
      “To advance an equal protection claim, a plaintiff must assert facts that

support the allegation that the government intentionally treated him differently from

others who were similarly situated and that there is no rational basis for the

difference in treatment.” Jones v. Nat’l Council on Disability, 66 F. Supp. 3d 94, 103

(D.D.C. 2014). By citing a range of statistics, plaintiffs attempt to show that the

GRU’s activities have resulted in a race-based discriminatory effect.9 But “[s]tatistics

to prove discrimination come in infinite variety and their usefulness depends on all

of the surrounding facts and circumstances.” Boykin v. Gray, 987 F. Supp. 2d 14, 19

(D.D.C. 2013) (quoting Gallagher v. Magner, 619 F.3d 823, 837 (8th Cir. 2010)). Just

as none of plaintiffs’ statistics suffice to demonstrate the existence of a municipal

policy, custom or practice, see above at 29–30, so too do they fail to establish disparate

impact. To begin with, all of plaintiffs’ cited statistics apply to NSID or MPD as a

whole, rather than GRU specifically; nonetheless plaintiffs conclude that “on

information and belief, the statistics for the GRU’s reported stops and frisk[s] are



9      Plaintiffs do not attempt to rely on anecdotal evidence that the GRU treated
individual comparable non-African Americans more favorably than African
Americans. See, e.g., United States v. Barry, Magistrate Case No. 18-00111, 2019 WL
2396266, at *4 (D.D.C. June 5, 2019); Jones, 66 F. Supp. 3d at 103; United States v.
Khanu, 664 F. Supp. 2d 28, 31–33 (D.D.C. 2009).

                                           33
      Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 34 of 41




even more extreme than [MPD] generally.” See Am. Compl. ¶ 127. And while

plaintiffs’ proposed damages class spans from April 4, 2017 through the present, id.

¶ 280,10 the proffered statistics are applicable only to small subportions of that period,

if a date range is specified at all. See id. ¶¶ 112 (between July 22, 2019 and August

18, 2019), 115 (between August 1, 2019 and January 31, 2020), 117 (data date range

unspecified), 120 (through unspecified date in 2017), 123 (between July 22, 2019 and

December 31, 2019). On these bases alone plaintiffs’ statistics should be rejected as

inapplicable.

      Even if plaintiffs’ citations pertaining to MPD could be applied to the GRU in

particular, and further assumed to apply to the entire class period, they are still an

inadequate basis for alleging disparate impact. Plaintiffs may use statistics to

demonstrate disparate impact, but irrelevant statistics obtained by “analytical cherry

picking” are insufficient. Boykin, 987 F. Supp. 2d at 20 (quoting Greater New Orleans

Fair Hous. Action Ctr. v. U.S. Dep’t of Hous. & Urban Dev., 639 F.3d 1078, 1087 (D.C.

Cir. 2011)).

      Here, plaintiffs present a handful of metrics to allege, generally, that greater

numbers of African Americans than persons of other races are stopped and frisked by

MPD. See Am. Compl. ¶¶ 113–15, 117, 120–21, 123.11 But the equal protection



10     Plaintiffs have not specified any date range for the putative injunctive relief
class. Id.

11     Plaintiffs have not shown why data pertaining to traffic stops and arrests for
marijuana-related offenses, Am. Compl. ¶¶ 122, 126, is relevant to the GRU’s work
in “interdiction and recovery of illegal firearms, and the apprehension of individuals
involved in illegal gun crime.” Id. ¶ 23.
                                           34
      Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 35 of 41




allegations in this case center on “a policy, practice and/or custom of illegally stopping

and frisking or searching persons … in the absence of reasonable articulable

suspicion of criminal activity … .” Id. ¶ 298. Plaintiffs’ statistics are inapplicable

because they do not demonstrate how many members of various races are “illegally

stop[ed] and frisk[ed] or search[ed] … in the absence of reasonable articulable

suspicion of criminal activity.” Id. Plaintiffs cannot simply compare the numbers of

African Americans stopped and frisked with the population of the District as a whole,

or even the population of particular wards, because that baseline is not specific

enough to demonstrate a racial difference in the precise treatment plaintiffs allege

they have suffered. See Gilani v. Matthews, 843 F.3d 342, 348–49 (8th Cir. 2016);

Chavez v. Ill. State Police, 251 F.3d 612, 643 (7th Cir. 2001); see also United States

v. Armstrong, 517 U.S. 456, 469–70 (1996) (rejecting as unsubstantiated the

assumption that all crime is committed evenly across racial groups in analyzing

statistical evidence). “To do so ignores a crucial characteristic of the law of disparate

impact, which is its focus on facially neutral policies that systematically exert

discriminatory effects within the population to which they apply.” Boykin, 986 F.

Supp. 2d at 20 (emphasis omitted).

      In other words, if plaintiffs allege there is a GRU policy of conducting illegal

stops and frisks, plaintiffs have provided no evidence that such a policy is applied in

a racially discriminatory manner, that is, applied to African Americans

disproportionately but not to persons of other races. Without appropriate comparator

evidence, plaintiffs’ claim of disparate impact cannot stand. See Richards v.



                                           35
      Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 36 of 41




Gelsomino, 814 F. Appx. 607, 610–11 (D.C. Cir. 2020); see also Armstrong, 517 U.S.

at 465 (requiring showing that comparators were treated differently for selective

prosecution claim). In essence, “[b]ecause discretion is essential to the criminal justice

process, we would demand exceptionally clear proof before we would infer that the

discretion has been abused.” McCleskey v. Kemp, 481 U.S. 279, 297 (1987). Plaintiffs’

statistical evidence here does not meet that standard and should therefore be

rejected.

      B.     Plaintiffs Have Not Shown Intentional Discrimination on the Basis of
             Race.
      Even if plaintiffs had successfully pled the existence of a disparate impact, that

is not enough for an equal protection claim; plaintiffs must also show an invidious

discriminatory purpose. See Kingman Park Civic Ass’n v. Bowser, 815 F.3d 36, 42

(D.C. Cir. 2016); United States v. Johnson, 40 F.3d 436, 439 (D.C. Cir. 1994) (“It is

not enough that a law impacts members of different races differently in effect—it

must have been passed at least in part with that purpose.”) (emphasis in original);

Smith, 54 F. Supp. 3d at 69 (“Run-of-the-mill disparate impact—that is, the fact that

a policy disproportionately hurts a certain group—does not clear this hurdle.”)

(quoting Vill. of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 264–65

(1977)).

      As discussed, plaintiffs have failed to show that the District had a policy,

custom or practice of intentional discrimination. See above 18–32; see also Smith, 54

F. Supp. 3d at 73 (rejecting unsourced rumors about discriminatory remarks by

government official as double hearsay and inadmissible as evidence of racial


                                           36
      Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 37 of 41




discrimination). And in each of the specific encounters plaintiffs allege they had with

the individual GRU officers, plaintiffs do not contend that any officer evinced any

racial animus whatsoever towards plaintiffs, or otherwise acted with racially

discriminatory intent. See Am. Compl. ¶¶ 129–270; see also id. ¶¶ 189, 209, 229, 270

(conclusory statements that each action was done “in accordance with the custom,

policy and procedures of MPD to manufacture suspicion and arrests of African

American men who otherwise were not engaged in suspicious activity”). And

plaintiffs’ proffered statistics do not provide evidence of racial animus among the

individual GRU officer defendants: “[S]tatistical evidence must be directly related to

the issues facing the decision-maker” and an equal protection plaintiff must offer

“evidence that the decisionmakers in his case acted with a discriminatory purpose.”

Khanu, 664 F. Supp. 2d at 33–34 (emphasis in original) (internal quotation omitted)

(citing McCleskey, 481 U.S. at 292); see also United States v. Dixon, 486 F. Supp. 2d

40, 46 (D.D.C. 2007) (“[T]he Court could not draw conclusions (or even reasonable

inferences) regarding the motivating reasons for the actions of the specific MPD

officers involved in this case by considering general MPD data … .”).

      Plaintiffs additionally make many generalized claims about a culture of

assertiveness within the GRU, but none of these scattershot allegations have any

bearing on whether any member of the GRU acted with a racially discriminatory

purpose in conducting stops. See Am. Compl. ¶¶ 33–52; see also id. ¶¶ 64–68

(allegations pertaining to t-shirt worn by an unidentified MPD officer in Superior

Court, not while conducting stops and frisks). In fact, taken as a whole, all of



                                          37
      Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 38 of 41




plaintiffs’ non-conclusory allegations regarding the GRU show a “zeal to find and

confiscate illegal guns,” id. ¶ 19, consistent with the GRU’s mission of “interdiction

and recovery of illegal firearms, and the apprehension of individuals involved in

illegal gun crime,” id. ¶ 23, rather than racial discrimination. GRU members patrol

areas of the city in which illegal firearms are more often found, see Gross, 784 F.3d

at 789–90 (Brown, J., concurring); Robinson, 76 A.3d at 339–40, and “[t]he affected

area is indeed disproportionately African American.” Kingman Park, 815 F.3d at 42.

“But so are many parts of the District.” Id. The GRU’s logical, legitimate and non-

discriminatory reason for patrolling the areas it does, combined with plaintiffs’ failure

to show a discriminatory impact, means plaintiffs’ equal protection claim fails. Id.;

see also Johnson, 40 F.3d at 441.

IV.   The Individual Defendants Are Entitled to Qualified Immunity.

      Even if plaintiffs properly alleged violations of the Fourth and Fifth

Amendments, their claims should be dismissed because each of the individual

defendants are entitled to qualified immunity. “[O]fficers are entitled to qualified

immunity under § 1983 unless (1) they violated a federal statutory or constitutional

right, and (2) the unlawfulness of their conduct was ‘clearly established at the time.’”

District of Columbia v. Wesby, 138 S. Ct. 577, 589 (2018) (quoting Reichle v. Howards,

566 U.S. 658 (2012)). To defeat the second prong of a claim of qualified immunity, a

plaintiff must show that the hypothetical constitutional infringement violated clearly

established statutory rights of which a reasonable person would have known. See

Mullenix v. Luna, 136 S. Ct. 305, 308 (2015) (per curiam); see also Dukore v. District


                                           38
      Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 39 of 41




of Columbia, 799 F.3d 1137, 1145 (D.C. Cir. 2015) (noting that plaintiff bears the

burden of showing that the constitutional right in question was clearly established).

Crucially, the “clearly established law” must not be defined “at a high level of

generality,” and instead must address the particular facts and circumstances of the

individual case. White v. Pauly, 137 S. Ct. 548, 552 (2017); see also Wesby, 138 S. Ct.

at 590 (“[T]he crucial question [is] whether the official acted reasonably in the

particular circumstances that he or she faced.”) (quoting Plumhoff v. Rickard, 572

U.S. 765, 779 (2014)). In sum, “[t]he qualified immunity standard ‘gives ample room

for mistaken judgments’ by protecting ‘all but the plainly incompetent or those who

knowingly violate the law.’” Hunter v. Bryant, 502 U.S. 224, 229 (1991) (per curiam)

(quoting Malley v. Briggs, 475 U.S. 335, 341, 343 (1986)).

      Plaintiffs do not rely on “controlling authority” or “a robust consensus of cases

of persuasive authority” to show that the challenged conduct of the GRU officers

violates the Constitution. Wesby, 138 S. Ct. at 589–90. Instead, the principal case

they cite in the Amended Complaint affirmed that the GRU’s tactics were

constitutional. Gross, 784 F.3d at 787–88; see also id. at 789 (Brown, J., concurring)

(“Our case law considers such [GRU] policy consistent with the Fourth

Amendment.”). And Robinson, in which the D.C. Court of Appeals found that a 2011

search by non-defendant GRU officers violated a defendant’s Fourth Amendment

rights, 76 A. 3d 329, does not contribute to “a robust consensus of cases.” Wesby, 138

S. Ct. at 589–90. Instead, that case held that the defendant there, who was visibly

drunk and made “back-and-forth, side-to-side hand motions,” had not acted in a way



                                          39
      Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 40 of 41




that gave rise to particularized suspicion. Robinson, 76 A.3d at 340. As the Supreme

Court has stated, “it is inevitable that law enforcement officials will in some cases

reasonably but mistakenly conclude that probable cause is present.” Anderson v.

Creighton, 483 U.S. 635, 541 (1987). This is particularly the case given that

“reasonableness ‘must be judged from the perspective of a reasonable officer on the

scene, rather than with the 20/20 vision of hindsight,’ and that ‘the calculus of

reasonableness must embody allowance for the fact that police officers are often

forced to make split-second judgments—in circumstances that are tense, uncertain,

and rapidly evolving.’” Ryburn v. Huff, 565 U.S. 469, 477 (2012) (quoting Graham v.

Connor, 490 U.S. 386, 396–97 (1989)).

      Even if the individual officers in plaintiffs’ particular circumstances here were

mistaken as to the existence of probable cause, any such mistake was reasonable

given the holding in Gross and “in such cases those officials—like other officials who

act in ways they reasonably believe to be lawful—should not be held personally

liable.” Id. As such, each individual GRU officer is entitled to qualified immunity, and

the claims against them should be dismissed.

                                   CONCLUSION

      For the foregoing reasons, the Court should grant defendants’ motion and

dismiss plaintiffs’ Amended Complaint with prejudice.

Dated: November 16, 2020.        Respectfully submitted,

                                 KARL A. RACINE
                                 Attorney General for the District of Columbia




                                          40
      Case 1:20-cv-01135-TSC Document 22-1 Filed 11/16/20 Page 41 of 41




                                TONI MICHELLE JACKSON
                                Deputy Attorney General
                                Public Interest Division

                                /s/ Fernando Amarillas
                                FERNANDO AMARILLAS [974858]
                                Chief, Equity Section

                                /s/ Duane Blackman
                                DUANE BLACKMAN*
                                RICHARD SOBIECKI [500163]
                                BRENDAN HEATH [1619960]
                                Assistant Attorneys General
                                400 Sixth Street, N.W., Suite 10100
                                Washington, D.C. 20001
                                Phone: (202) 805-7640; (202) 805-7512;
                                (202) 442-9880
                                Fax: (202) 703-0646
                                duane.blackman@dc.gov; richard.sobiecki@dc.gov;
                                brendan.heath@dc.gov

                                Counsel for the District of Columbia Defendants




*     Admitted to practice only in the State of New York. Practicing in the District
of Columbia under the direct supervision of Fernando Amarillas, a member of the
D.C. Bar, pursuant to LCvR 83.2(f).

                                        41
